                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS



YOON DOELGER and
PETER DOELGER,



                  Plaintiffs,


                                           Civil Action No. 1:21-cv-11042-AK
     v.



JPMORGAN CHASE BANK, N.A. and
CHICKASAW CAPITAL MANAGEMENT, LLC,



                  Defendants.




          PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
               SPECIAL “ANTI-SLAPP” MOTION TO DISMISS OR
                 IN THE ALTERNATIVE UNDER RULE 12(b)(6)
                                              TABLE OF CONTENTS


PRELIMINARY STATEMENT .............................................................................................. 1

STATEMENT OF RELEVANT FACTS ................................................................................. 3

        I.      The Advisory Agreements and the 2015 Hedge Letter .......................................... 3

        II.     JP Morgan’s Counterclaims .................................................................................... 5

ARGUMENT ............................................................................................................................ 6

        I.      The Doelgers’ Special Motion to Dismiss Should be Granted and As a Result
                They Are Entitled to Attorneys’ Fees and Costs Incurred in Connection with this
                Motion ..................................................................................................................... 6

                A.      Massachusetts General Laws Chapter 231 § 59H Compels Dismissal of
                        Lawsuits That May Chill Petitioning Activity ............................................... 6

                B.      JP Morgan Filed its Counterclaims Solely to Chill the Doelgers’
                        Petitioning Activity ........................................................................................ 7

        II.     JP Morgan’s Counterclaims Should be Dismissed Pursuant to Rule 12(b)(6) ....... 9

                A.      Standard for a Motion to Dismiss .................................................................. 9

                B.      JP Morgan Fails to Allege Any Breach of the Advisory Agreements
                        (Count II) ....................................................................................................... 9

                C.      JP Morgan Fails to State a Breach of Contract Claim in Connection with the
                        2015 Hedge Letter (Count I) ........................................................................ 13

                D.      JP Morgan Fails to State a Claim for Indemnity (Count III) ....................... 15

CONCLUSION ....................................................................................................................... 20
                                                     TABLE OF AUTHORITIES


Cases

477 Harrison Ave., LLC v. JACE Boston, LLC,
  483 Mass. 520 (2019) ................................................................................................................. 6

Advanced Micro Devices, Inc. v. Feldstein,
  No. 13-40007-TSH, 2013 U.S. Dist. LEXIS 189838
  (D. Mass. May 15, 2013) .......................................................................................................... 20

Angelo v. USA Triathlon,
  No. 13-12177-LTS, 2014 U.S. Dist. LEXIS 131759
  (D. Mass. Sept. 18, 2014) ......................................................................................................... 12

Aronstein v. Mass. Mut. Life Ins. Co.,
  No. 15-12864-MGM,
  2016 U.S. Dist. LEXIS 54190 (D. Mass. Apr. 22, 2016) ......................................................... 10

Ashcroft v.Iqbal,
  556 U.S. 662 (2009) .................................................................................................................... 9

Bargantine v. Mechs. Coop. Bank,
  No. 13-11132-NMG, 2013 U.S. Dist. LEXIS 169284
  (D. Mass. Nov. 26, 2013)............................................................................................................ 6

Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) .................................................................................................................... 9

Bodden v. Kean,
  No. 23250/2008, 2009 N.Y. Misc. LEXIS 6678, 490
  (N.Y. Sup. Ct. Kings County 2009) .................................................................................... 14, 15

Brennan v. Carvel Corp.,
  929 F.2d 801 (1st Cir. 1991) ..................................................................................................... 10

Butvin v. DoubleClick, Inc.,
  No. 99-4727-JFK, 2001 U.S. Dist. LEXIS 2318
  (S.D.N.Y. Mar. 5, 2001) ........................................................................................................... 10

Cardno ChemRisk, LLC v. Foytlin,
  476 Mass. 479 (2017) ................................................................................................................. 8

Cervantes v. CRST Int’l, Inc.,
  No. 20-10106-PBS, 2020 U.S. Dist. LEXIS 139189
  (D. Mass. Aug. 5, 2020)............................................................................................................ 20


                                                                    iii
Crotty v. Continuum Energy Techs.,
  No. 1984-cv-03971-BLS2, 2020 Mass. Super. LEXIS 95
  (Mass. Super. Ct. May 12, 2020) ............................................................................................ 7, 8

CSX Transp., Inc. v. Mass. Bay Transp. Auth.,
  697 F. Supp. 2d 213 (D. Mass. 2010) ....................................................................................... 12

Davis v. Davis,
  2007 Mass. App. Div. 124 (2007)............................................................................................. 14

Doe v. Trs. of Bos. Coll.,
  892 F.3d 67 (1st Cir. 2018) ................................................................................................. 13, 14

Duracraft Corp. v. Holmes Prods. Corp.,
  427 Mass. 167 (1998) ................................................................................................................. 9

Edlow v. RBW, LLC,
  No. 09-12133-RGS, 2010 U.S. Dist. LEXIS 50519
  (D. Mass. May 21, 2010) .......................................................................................................... 11

Ellington Credit Fund, Ltd. v. Select Portfolio Servicing, Inc.,
  837 F. Supp. 2d 162 (S.D.N.Y. 2011)....................................................................................... 11

Fabre v. Walton,
  436 Mass. 517 (2002) ................................................................................................................. 7

Fafoutis v. Lyons,
  149 A.D.2d 565 (N.Y. App. Div. 1st Dep’t 1989).................................................................... 14

Flagg v. Yonkers S&L Ass’n,
  307 F. Supp. 2d 565 (S.D.N.Y. 2004)....................................................................................... 20

Garnet Constr. Co. v. Acadia Ins. Co.,
  No. 2001-2373-C, 2002 Mass. Super. LEXIS 492
  (Mass. Super. Ct. Nov. 8, 2002) ............................................................................................... 17

Godin v. Schencks,
  629 F.3d 79, 92 (1st Cir. 2010) ................................................................................................... 6

Goldsmith v. Marsh USA, Inc.,
  604 B.R. 600 (Bankr. D. Mass. 2019) .................................................................................. 9, 10

Great N. Ins. Co. v. Interior Constr. Corp.,
  7 N.Y.3d 412 (N.Y. 2006) ........................................................................................................ 16

Guckenberger v. Boston Univ.,
  957 F. Supp. 306, 316 (D. Mass. 1997) .................................................................................... 11


                                                                   iv
Guilfoile v. Shields,
  913 F.3d 178 (1st Cir. 2019) ....................................................................................................... 9

Hooper Assoc. Ltd. v. AGS Computers, Inc.,
  74 N.Y.2d 487 (N.Y. 1989) ................................................................................................ 16, 19

James B. Nutter & Co. v. Estate of Murphy,
  478 Mass. 664 (2018) ............................................................................................................... 20

L’Oreal USA, Inc. v. RG Shakour, Inc.,
  No. 08-40064-FDS, 2010 U.S. Dist. LEXIS 92863
  (D. Mass. Sept. 7, 2010) ........................................................................................................... 10

M.J. Flaherty Co. v. Walsh/O’Connell Joint Venture,
  2003 Mass. Super. LEXIS 72
  (Mass. Super. Ct. Feb. 25, 2003) .............................................................................................. 17

Matter of Power v. Olympic Reg’l Dev. Auth.,
 195 A.D.3d 1104 (N.Y. App. Div. 3rd Dep’t 2021) ................................................................. 20

McLarnon v. Jokisch,
 431 Mass. 350 (2000) ................................................................................................................. 7

Mooney v. Diversified Business Communs.,
 No. 1684-cv-03726-BLS2, 2018 Mass. Super. LEXIS 50
 (Mass. Super. Ct. March 2, 2018) ............................................................................................. 18

N. Am. Expositions Co. Ltd. P’ship v. Corcoran,
  452 Mass. 853 (2009) ................................................................................................................. 6

Nassau Cnty. v. N.Y. State Urban Dev. Corp.,
  4 N.Y.S.3d 874 (N.Y. Sup. Ct. Nassau County 2015) .............................................................. 14

SI Venture Holdings, LLC v. Catlin Specialty Ins.,
   118 F. Supp. 3d 548 (S.D.N.Y. 2015)....................................................................................... 15

Source One Fin. Corp. v. Occidental Fire & Cas. Co.,
  No. 2084-cv-2712-BLS2, 2021 Mass. Super. LEXIS 447
  (Mass. Super. Ct. July 16, 2021)............................................................................................. 6, 7

Steinmetz v. Coyle & Caron, Inc.,
  No. 15-cv-13594-DJC, 2016 U.S. Dist. LEXIS 99631
  (D. Mass. July 29, 2016) ......................................................................................................... 6, 7

Tonking v. Port Auth.,
  3 N.Y.3d 486 (N.Y. 2004) ........................................................................................................ 17



                                                                    v
Umscheid v. Simnacher,
 106 AD2d 380, 381 (N.Y. App. Div. 2d Dept 1984) ............................................................... 15

U.S. ex rel. Hutcheson v. Blackstone Med., Inc.,
  647 F.3d 377 (1st Cir. 2011) ....................................................................................................... 9

Wenger v. Aceto,
 451 Mass. 1 (2008) ..................................................................................................................... 6

Whitehaven S.F., LLC v. Spangler,
 45 F. Supp. 3d 333 (S.D.N.Y. 2014)......................................................................................... 15

Wolff v. Rare Medium, Inc.,
 171 F. Supp. 2d 354 (S.D.N.Y. 2001)....................................................................................... 14

Statutes

Mass. G.L. c. 231 § 59H ......................................................................................................... 1, 6, 7

Investment Advisers Act of 1940, 5 U.S.C. §§ 80b-1—80b-21 ........................................... 3, 5, 13

Rules

Fed. R. Civ. P. 12(b)(6)........................................................................................................... 1, 2, 9

Other Authorities

Advisers Act Release No. 5248 (Jul. 12, 2019) .............................................................................. 3

Heitman Capital Management, LLC, et al.,
  SEC Staff No-Action Letter, No. 801-15473 (Feb. 12, 2007) ................................................... 3

Restatement 2d Conflict of Laws § 145 (1971) .............................................................................. 3




                                                                    vi
        Plaintiffs Yoon Doelger and Peter Doelger submit this Memorandum of Law in Support of

their Special “Anti-SLAPP” Motion to Dismiss or, in the Alternative, under Rule 12(b)(6) of the

Federal Rules of Civil Procedure against JPMorgan Chase Bank, N.A. (“JP Morgan”).


                                    PRELIMINARY STATEMENT

        JP Morgan’s counterclaims epitomize why anti-SLAPP 1 statutes were enacted. JP Morgan

admits in its Answer and Counterclaims that it is bringing its counterclaims solely based on the

petitioning activity of the Doelgers, namely, filing the Complaint against Defendants. JP Morgan

asserts two breach of contract claims against the Doelgers, each concerning a different purported

agreement, but fails to plead any provisions of the agreements that it believes the Doelgers

breached. Instead, JP Morgan merely pleads in conclusory fashion that the Doelgers breached the

agreements by “filing and maintaining the Complaint.” Counterclaims, ¶¶ 29, 34. 2 In addition,

JP Morgan asserts an indemnity counterclaim against the Doelgers by relying on two separate

indemnity provisions that are either unenforceable or, at the least, inapplicable to intraparty

disputes.

        Moreover, as with JP Morgan’s opposition to the Motion to Admit James R. Serritella Pro

Hac Vice, JP Morgan’s counterclaims are not only wholly without merit, but are nothing more than

an attempt to cause the Doelgers additional financial hardship. JP Morgan, the largest bank in the

United States and with limitless resources, has demonstrated that it has little desire to litigate the

merits of the Doelgers’ claims, and instead has engaged in a pattern of bullying the Doelgers.

        The Doelgers are elderly retires; Mr. Doelger, 84, is a retired businessman. Mr. Doelger

has been suffering from cognitive decline, including dementia, for years. Mrs. Doelger, 74 and an


1
 “SLAPP” is an acronym for “Strategic Litigation Against Public Participation”; see Mass. G.L. c. 231 § 59H.
2
  As used herein, “Counterclaims” refers to the portion of the pleading titled “Defendant JPMorgan Chase Bank,
N.A.’s Answer, Affirmative Defenses and Counterclaims”, p. 86 – 97, Docket No. 25.
artist, is originally from Korea and speaks English as a second language. The Doelgers put their

trust in JP Morgan as their investment adviser, but JP Morgan failed to act in the Doelgers’ best

interest. As alleged in the Complaint, JP Morgan’s egregious breaches of its fiduciary duties and

undisclosed non-waivable conflicts of interest resulted in millions of dollars of losses to the

Doelgers, from which JP Morgan profited, at the Doelgers’ expense, to the tune of millions of

dollars. JP Morgan’s Answer and Counterclaims, which is full of outlandish and false statements

regarding the Doelgers, is an attempt to impugn their reputation and harass and intimidate the

Doelgers from pursuing their claims—a litigation strategy indicative of its general approach to the

Doelgers.

        It appears JP Morgan’s mistreatment of the Doelgers is not an isolated occurrence. Indeed,

the Office of the Comptroller of Currency (the “OCC”) recently fined JP Morgan $250 million

because it determined JP Morgan “engaged in unsafe or unsound practices that were part of a

pattern of misconduct” in connection with its fiduciary activities. 3

        For these reasons and the reasons discussed below, JP Morgan’s Counterclaims should be

dismissed pursuant to the anti-SLAPP statute, and attorneys’ fees must be assessed against JP

Morgan. In the alternative, the Counterclaims should be dismissed under Rule 12(b)(6) because

JP Morgan fails to state a claim for which relief can be granted.




3
  See consent order dated November 24, 2020 (the “Consent Order”), https://www.occ.gov/static/enforcement-
actions/ea2020-067.pdf. The OCC found that “[f]or several years, the Bank maintained a weak management and
control framework for its fiduciary activities and had an insufficient audit program for, and inadequate internal
controls over, those activities.” Consent Order at 2. The OCC Further noted that “[a]mong other things, the Bank
had deficient risk management practices and an insufficient framework for avoiding conflicts of interest.” Id.


                                                         2
                                 STATEMENT OF RELEVANT FACTS

I.       The Advisory Agreements and the 2015 Hedge Letter

         On or about August 10, 2015, Mr. Doelger signed various agreements (the “2015 Advisory

Agreements”) in connection with the opening of an advisory account with JP Morgan (the

“Advisory Account”). See Ex. 1. 4 Pursuant to the 2015 Advisory Agreements, Defendants agreed

to become Mr. Doelger’s investment advisers.

         Six weeks after Mr. Doelger and JP Morgan signed the 2015 Advisory Agreements, JP

Morgan and its affiliate, J.P. Morgan Securities LLC (“JP Morgan Securities”), sent Mr. Doelger

a self-serving letter dated September 24, 2015 (the “2015 Hedge Letter”) 5 purporting to limit JP

Morgan’s liability in connection with its role as an investment adviser by requesting that Mr.

Doelger make certain acknowledgements regarding his financial acumen that they knew were

untrue. See Ex. 2; see also Complaint ⁋ 96. In addition, JP Morgan misstated Mr. Doelgers’ net

worth as significantly higher than it was. Complaint ⁋ 97. However, JP Morgan was well-aware

of Mr. Doelger’s complete financial circumstances, including all his assets and liabilities and his

net worth, given that (i) Mr. Doelger had a decades long relationship with JP Morgan, which

conducted nearly all his banking, (ii) JP Morgan regularly prepared personal financial statements

listing Mr. Doelger’s assets and liabilities, (iii) JP Morgan was the custodian for Mr. Doelger’s

existing investment portfolio (iv) and, beginning in 2009 or prior, JP Morgan extended millions of


4
  References herein to “Ex. _” are to the exhibits attached to the Declaration of Joshua W. Gardner, dated October
22 and submitted herewith.
5
  A “hedge clause” is an exculpatory provision in an investment advisory agreement that purports to relieve an adviser
from liability and/or give the adviser the ability to seek indemnity from its client. See Interpretive Release Regarding
Standard of Conduct for Investment Advisers, Advisers Act Release No. 5248 at 11, n. 31 (Jul. 12, 2019). The
Securities and Exchange Commission has condemned such hedge clauses as running afoul of Section 206 (the Anti-
Fraud Provisions) of the Investment Advisers Act of 1940 (the “Advisers Act”), stating “there are few (if any)
circumstances in which a hedge clause in an agreement with a retail client would be consistent with those antifraud
provisions, where the hedge clause purports to relieve the adviser from liability for conduct as to which the client has
a non-waivable cause of action against the adviser provided by state or federal law.” Id.; see also Heitman Capital
Management, LLC, et al., SEC Staff No-Action Letter, No. 801-15473 at 3 (Feb. 12, 2007).


                                                           3
dollars in loans to Mr. Doelger that were renewed based on JP Morgan’s annual assessment of Mr.

Doelger’s assets and liabilities. See Complaint ⁋⁋ 19, 20, 22, 23, 27 and 98; see also admissions

in JP Morgan’s Answer ⁋⁋ 19, 22, 23, 26-7.

       Pursuant to the 2015 Hedge Letter, JP Morgan and JP Morgan Securities purported to

obtain indemnity from Mr. Doelger in connection with certain third-party claims brought against

them. JP Morgan and JP Morgan Securities did not agree to provide Mr. Doelger with any benefit

or services in exchange for the purported agreements and indemnity they sought in the 2015 Hedge

Letter. Mrs. Doelger was not a party to the 2015 Hedge Letter and JP Morgan does not, and cannot,

allege otherwise.

       From August 2015 until June 2019, the Advisory Account was solely in Mr. Doelger’s

name. On or about June 21, 2019, Mrs. Doelger was added to the Advisory Account as a joint

account holder pursuant to a “Title Change Request” and she signed a set of agreements (the “2019

Advisory Agreements”) that were nearly identical to the 2015 Advisory Agreements. See Exs. 1

and 3. Mr. Doelger also signed the 2019 Advisory Agreements. See Ex. 3. Pursuant to the 2019

Advisory Agreements, Defendants agreed to become Mrs. Doelger’s investment advisers. JP

Morgan did not present the Doelgers with a hedge letter in connection with the 2019 Advisory

Agreements.

       The Doelgers performed all their obligations under the 2015 Advisory Agreements and the

2019 Advisory Agreements (collectively, the “Advisory Agreements”), including paying

Defendants hundreds of thousands of dollars in investment advisory fees. See Complaint ⁋ 169;

see also Answer ⁋ 169 (admitting to charging the Doelgers a 1% annual fee on their investments).

The Doelgers allege that Defendants breached the Advisory Agreements by, among other things,

failing to invest the Doelgers’ funds in accordance with the Doelgers’ investment objectives or




                                               4
perform routine portfolio reviews to determine whether their recommended investment strategy

was in the best interest of the Doelgers. See, e.g., Complaint, ⁋⁋ 264-65.

II.     JP Morgan’s Counterclaims

        Chickasaw filed its Answer on September 24, 2021 and did not file counterclaims. JP

Morgan filed its Answer with Counterclaims on October 1, 2021 and asserts three causes of action:

             •   Count I: JP Morgan alleges that the Doelgers breached the 2015 Hedge Letter by
                 “filing and maintaining the Complaint, which contradicts Mr. Doelger’s prior
                 representations in the September 2015 Letter and disavows Mr. Doelger’s express
                 assumption of his investment risks.” Counterclaims ⁋ 29.

             •   Count II: JP Morgan alleges that the Doelgers breached the Advisory Agreements
                 by “filing and maintaining their Complaint, which contradicts the Doelgers’ prior
                 representations in those agreements and asserts claims the Doelgers agreed not to
                 assert under the limited liability clauses in those agreements.” Counterclaims ⁋ 34.

             •   Count III: JP Morgan alleges that it is entitled to contractual indemnity for its
                 attorneys’ fees and costs in this action by relying on two separate one-sided
                 indemnity provisions (one in the above-mentioned 2015 Hedge Letter and one in
                 the terms and conditions). Counterclaims ⁋⁋ 37, 40.

In connection with Count II , the “limited liability clauses” to which JP Morgan refers appear to

be provisions in JP Morgan’s Combined Terms and Conditions (the “Terms and Conditions”), for

which there are several different versions. See Exs. 4 and 5. Although the Terms and Conditions

are separate and apart from the Advisory Agreements, JP Morgan has indicated that it intends to

argue they were part of the Advisory Agreements and that a different set of Terms and Conditions

applies to each of the Advisory Agreements. 6 See Gardner Decl. ⁋⁋ 6-7. The provisions relevant

to this Motion are ether identical or substantially the same in both sets of Terms and Conditions.



6
  The Doelgers maintain that the Terms and Conditions are not binding on them. First, the Advisory Agreements do
not specifically refer to any “Combined Terms and Conditions”. In addition, the Doelgers do not believe that JP
Morgan included the Terms and Conditions with the Advisory Agreements when they were signed and did not make
them readily accessible. In any event, certain provisions in the Terms and Conditions constitute unenforceable
hedge clauses under the Advisers Act and are unenforceable waivers of JP Morgan’s fiduciary duties. Accordingly,
the Doelgers reserve their rights to challenge the enforceability of the Terms and Conditions and/or certain of the
provisions contained therein.


                                                        5
                                          ARGUMENT

I.     The Doelgers’ Special Motion to Dismiss Should be Granted and As a Result They
       Are Entitled to Attorneys’ Fees and Costs Incurred in Connection with this Motion

       A. Massachusetts General Laws Chapter 231 § 59H Compels Dismissal of
          Lawsuits That May Chill Petitioning Activity

       If ever a case compelled an anti-SLAPP motion to dismiss, this is that case. In enacting

the anti-SLAPP statute, “the Legislature intended to immunize parties from claims ‘based on’ their

petitioning activities.” Duracraft Corp. v. Holmes Prods. Corp., 427 Mass. 156, 167 (1998); see

Mass. G.L. c. 231 § 59H. Accordingly, the statute provides broad protections for individuals who

exercise their right to petition from harassing litigation and the costs and burdens of defending

against retaliatory lawsuits. See N. Am. Expositions Co. Ltd. P’ship v. Corcoran, 452 Mass. 852,

853 (2009) (noting that the statute “creates a special motion to dismiss for the prompt resolution

of SLAPP suits, actions designed not to win, but, rather, ‘to deter or retaliate against individuals

who seek to exercise their right of petition.’”) (quoting Wenger v. Aceto, 451 Mass. 1, 4 (2008).

       Filing a lawsuit constitutes “petitioning activity” under the statute. 477 Harrison Ave.,

LLC v. JACE Boston, LLC, 483 Mass. 514, 520 (2019) (“Commencement of litigation is

quintessential petitioning activity.”); Source One Fin. Corp. v. Occidental Fire & Cas. Co., No.

2084-cv-2712-BLS2, 2021 Mass. Super. LEXIS 447, at *11-12 (Mass. Super. Ct. July 16, 2021)

(“Petitioning activity under § 59H includes, among other things, the filing of a lawsuit.”). Further,

the “Massachusetts anti-SLAPP statute [is] applicable as substantive law to diversity cases brought

in federal court.” Bargantine v. Mechs. Coop. Bank, No. 13-11132-NMG, 2013 U.S. Dist. LEXIS

169284, at *8 (D. Mass. Nov. 26, 2013) (citing Godin v. Schencks, 629 F.3d 79, 92 (1st Cir. 2010));

see also Steinmetz v. Coyle & Caron, Inc., No. 15-cv-13594-DJC, 2016 U.S. Dist. LEXIS 99631,

at *8-10 (D. Mass. July 29, 2016) (“The reasoning and conclusion of Godin extend to the

Massachusetts anti-SLAPP statute because, as three judges in this district have expressly


                                                 6
recognized, the Massachusetts anti-SLAPP statute is in all relevant respects the same as the Maine

anti-SLAPP statute.”) (citations omitted). “Accordingly, the Massachusetts anti-SLAPP statute

applies in federal courts.” Steinmetz, 2016 U.S. Dist. LEXIS 99631, at *10.

        A two-step procedure applies generally to a special motion to dismiss a claim pursuant to

§ 59H. First, the special movant (the Doelgers) must make a threshold showing that “all or part

of the Defendants’ counterclaim is ‘solely’ based upon [the Plaintiff’s] petitioning activity.”

Source One, 2021 Mass. Super. LEXIS 447, at *11. If this showing is made, the nonmoving party

(JP Morgan) can only avoid the motion to dismiss by showing that the petitioning activity is

“devoid of any reasonable factual support or any arguable basis in law,” and that “the [special

movant’s] acts caused actual injury” to the nonmoving party. Fabre v. Walton, 436 Mass. 517,

520 (2002) (quoting Mass. G.L. c. 231 § 59H). Once a court grants a special motion to dismiss

under § 59H, the award of attorney’s fees, “including those incurred for the special motion and

any related discovery matters,” is mandatory. G.L. c. 231 § 59H; Crotty v. Continuum Energy

Techs., No. 1984-cv-03971-BLS2, 2020 Mass. Super. LEXIS 95, at *2 n.3 (Mass. Super. Ct. May

12, 2020) (noting that “[i]f a court grants a special motion to dismiss under the anti-SLAPP statute,

it ‘has no discretion whether to grant costs and reasonable attorney’s fees; under the statute [G.L.c.

231, §59H] the grant of both is mandatory.’”); McLarnon v. Jokisch, 431 Mass. 343, 350 (2000)

(“The judge has no discretion in deciding whether to award costs and fees.”).


        B. JP Morgan Filed its Counterclaims Solely to Chill the Doelgers’ Petitioning
           Activity

        In this case, it is without question that the Counterclaims are based solely on the Doelgers

filing this action. JP Morgan flatly admits it filed its counterclaims in response to the Doelgers’

petitioning activity:




                                                  7
            •   “The Doelgers now have opted to blame others for their choices in attempt to avoid
                the losses they incurred due to their chosen investment strategy. To that end, on
                June 23, 2021, the Doelgers filed their Complaint against JPMC.” Counterclaims
                ⁋ 20.

            •   “The Doelgers’ filing of the Complaint breaches their Agreements….”
                Counterclaims ⁋ 22.

            •   “The Doelgers’ Complaint also breaches their agreement not to assert claims
                against JPMC, inter alia, negligence.” Counterclaims ⁋ 24.

            •   “The Doelgers should be held accountable for this conduct [i.e., filing the
                Complaint] and should reimburse JPMC for those legal expenses pursuant to the
                indemnity provisions of the Doelgers [sic] Agreements.” Counterclaims ⁋ 22.

            •   “The Doelgers have breached the [2015 Hedge Letter] by, among other things,
                filing and maintaining the Complaint….” Counterclaims ⁋ 29.

            •   “The Doelgers have breached the [Advisory Agreements] by, among other things,
                filing and maintaining their Complaint….” Counterclaims ⁋ 34.

Here, “[t]he counterclaims implicate the anti-SLAPP statute because they are based solely on

[Plaintiff’s] actions in filing his complaint and suing the Defendants.” Crotty v. Continuum Energy

Techs., No. 1984-cv-03971-BLS2, 2020 Mass. Super. LEXIS 95, at *3 (Mass. Super. Ct. May 12,

2020).

         Moreover, JP Morgan cannot show that the Doelgers’ lawsuit is devoid of any reasonable

factual support or any arguable basis in law and that this action caused JP Morgan actual injury.

See Cardno ChemRisk, LLC v. Foytlin, 476 Mass. 479, 484 (2017) (“To withstand the special

motion to dismiss, the nonmoving party must show, by a preponderance of the evidence, that the

special movant’s petitioning activity was devoid of any reasonable factual or legal support and that

it caused the nonmoving party actual injury.”). If JP Morgan truly believed that were the case, it

could have made a motion to dismiss. However, it did not.




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II.   JP Morgan’s Counterclaims Should be Dismissed Pursuant to Rule 12(b)(6)

       In the alternative, JP Morgan’s counterclaims should be dismissed under Rule 12(b)(6)

because JP Morgan fails to state a claim for which relief can be granted.

       A. Standard for a Motion to Dismiss

       To survive a motion to dismiss, a plaintiff must allege sufficient facts “to state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Further,

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory evidence,

do not suffice to survive a motion to dismiss.” Ashcroft v.Iqbal, 556 U.S. 662, 678 (2009). “A

suit is properly dismissed ‘if the complaint does not set forth factual allegations, either direct or

inferential, respecting each material element necessary to sustain recovery under some actionable

legal theory.” Guilfoile v. Shields, 913 F.3d 178, 186-187 (1st Cir. 2019) (quoting U.S. ex rel.

Hutcheson v. Blackstone Med., Inc., 647 F.3d 377, 384 (1st Cir. 2011) (emphasis in original).

       B. JP Morgan Fails to Allege Any Breach of the Advisory Agreements (Count II)

       As an initial matter, JP Morgan has indicated that it intends to argue that New York law

governs this dispute by relying on a provision in the Terms and Conditions. Ex. 4, at 4, Section

18; Ex. 5, at 5, Section 21. Given that there are issues of fact in connection with the enforceability

of the Terms and Conditions, the Doelgers, without waiving any of their rights, assume for the

purposes of this motion only that the Terms and Conditions are binding. Supra footnote. 6. The

Terms and Conditions provide that “this Agreement shall be governed by the law of the State of

New York.” Id. However, that provision is narrow in scope and only applies to claims concerning

breach of the agreement or disputes concerning interpretation of the agreement. See Goldsmith v.

Marsh USA, Inc., 604 B.R. 600, 617-18 (Bankr. D. Mass. 2019) (“By its terms, that contract’s

choice of law provision is limited to disputes arising out of the contract itself, not all disputes and

potential claims between the parties.”); see also L’Oreal USA, Inc. v. RG Shakour, Inc., No. 08-


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40064-FDS, 2010 U.S. Dist. LEXIS 92863, at *4 (D. Mass. Sept. 7, 2010) (holding that choice of

law clause providing that “[t]his Agreement shall be construed in accordance with and all disputes

herein shall be governed by the internal laws of the State of New York” applied only to contract

claims); accord Butvin v. DoubleClick, Inc., No. 99-cv-4727-JFK, 2001 U.S. Dist. LEXIS 2318,

at *22-23 (S.D.N.Y. Mar. 5, 2001) (“[A] contractual choice of law provision…does not bind the

parties with respect to non-contractual causes of action. Unless the express language of the

provision is broad enough to encompass the entire relationship between the contracting parties, the

choice of law provision applies only to the interpretation and enforcement of the contract itself.”)

(citations and internal quotation marks omitted).

       The Doelgers maintain that Massachusetts law applies to this dispute. “In diversity cases,

federal courts must apply the choice of law rules of the state in which the court sits.” Brennan v.

Carvel Corp., 929 F.2d 801, 806 (1st Cir. 1991). Further, “in Massachusetts, the court must apply

the law of the state with the ‘most significant relationship’ with the suit.” Id. A number of factors

help determine which state’s law to apply: “(a) the place where the injury occurred, (b) the place

where the conduct causing the injury occurred, (c) the domicile, residence, nationality, place of

incorporation and place of business of the parties, and (d) the place where the relationship, if any,

between the parties is centered.” Aronstein v. Mass. Mut. Life Ins. Co., No. 15-12864-MGM, 2016

U.S. Dist. LEXIS 54190, at *17 (D. Mass. Apr. 22, 2016) (quoting Restatement 2d Conflict of

Laws § 145 (1971)). Here, (i) the parties began their decades-long relationship in Massachusetts,

(ii) JP Morgan managed the Advisory Account out of its Boston branch, (iii) in-person meetings

among the parties generally took place in Massachusetts, (iv) the Doelgers, at all relevant times,

maintained a residence in Massachusetts and (v) the Doelgers incurred a substantial portion of




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their injuries while they were present in Massachusetts. Accordingly, Massachusetts has the “most

significant relationship” with this action.

       In any event, JP Morgan fails to state a claim for breach of the Advisory Agreements under

either Massachusetts or New York law. It is black letter law that “[t]o state a claim for breach of

contract under Massachusetts law, a plaintiff must allege, at a minimum, that there was a valid

contract, that the defendant breached its duties under its contractual agreement, and that the breach

caused the plaintiff damage.” Guckenberger v. Boston Univ., 957 F. Supp. 306, 316 (D. Mass.

1997) (citations omitted). “To establish a breach, plaintiff has the burden of proving the failure of

the defaulting party to conform to one or more of the contract’s material terms. A term is material

when it involves ‘an essential and inducing feature’ of the contract.” Edlow v. RBW, LLC, No. 09-

12133-RGS, 2010 U.S. Dist. LEXIS 50519, at *7 (D. Mass. May 21, 2010) (citation omitted).

       New York law is substantially the same on the elements for a breach of contract claim.

“Under New York law, there are four elements to a breach of contract claim: “(1) the existence of

an agreement, (2) adequate performance of the contract by the plaintiff, (3) breach of contract by

the defendant, and (4) damages.” Ellington Credit Fund, Ltd. v. Select Portfolio Servicing, Inc.,

837 F. Supp. 2d 162, 189-90 (S.D.N.Y. 2011) (citation omitted). “To plead these elements, a

plaintiff must identify what provisions of the contract were breached as a result of the acts at issue.”

Id. at 190 (quoting Wolff v. Rare Medium, Inc., 171 F. Supp. 2d 354, 358 (S.D.N.Y. 2001)

(dismissing breach of contract claim because plaintiffs failed to identify the contractual provisions

that defendant breached)). In addition, “[s]tating in a conclusory manner that an agreement was

breached does not sustain a claim of breach of contract.” Id. (citation omitted).


       Here, JP Morgan alleges, in conclusory fashion, that the Doelgers breached the Advisory

Agreements by “filing and maintaining their Complaint, which contradicts the Doelgers’ prior



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representations in those agreements….” JP Morgan’s Answer and Counterclaims, Docket No. 25,

at 94 ⁋ 34. JP Morgan does not and cannot identify a single provision in the Advisory Agreements

that prevent the Doelgers from bringing this action against JP Morgan for its various breaches and

acts of bad faith. The Doelgers performed all their obligations to JP Morgan under the Agreements,

including paying JP Morgan hundreds of thousands of dollars in advisory fees. See Complaint

⁋ 169.

         Moreover, JP Morgan’s claim that somehow the Advisory Agreements it singlehandedly

drafted could prevent a client from suing it amounts to an argument that JP Morgan is immune

from suit. Such a reading would violate public policy. See Angelo v. USA Triathlon, No. 13-

12177-LTS, 2014 U.S. Dist. LEXIS 131759, at *11 (D. Mass. Sept. 18, 2014) (reaching the

conclusion “specifically that Massachusetts courts would not enforce an indemnity provision

insofar as it relieved a party from liability stemming from its own gross negligence”); CSX Transp.,

Inc. v. Mass. Bay Transp. Auth., 697 F. Supp. 2d 213, 226 (D. Mass. 2010) (stating that “[c]ontracts

that violate public policy are unenforceable”); accord SI Venture Holdings, LLC v. Catlin Specialty

Ins., 118 F. Supp. 3d 548, 551 (S.D.N.Y. 2015) (“Under New York law, ‘[a]n agreement may be

unenforceable [] as contrary to public policy even in the absence of a direct violation of a criminal

statute, if the sovereign has expressed a concern for the values underlying the policy implicated.’”)

(citation omitted); Whitehaven S.F., LLC v. Spangler, 45 F. Supp. 3d 333, 344 (S.D.N.Y. 2014)

(“Because contracts against public policy are void, it is well-established that courts will not enforce

such contracts or ‘recognize rights arising from them.’”) (citation omitted).


         JP Morgan’s conclusory allegation that “the Doelgers agreed not to assert [claims] under

the limited liability clauses in those agreements” is equally unavailing. There is no provision in

the Advisory Agreement or the Terms and Conditions under which the Doelgers agreed not to



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pursue certain claims against JP Morgan. JP Morgan seems to refer to an exculpatory clause in

the Terms and Conditions, but that provision, to the extent enforceable, does not provide that the

Doelgers cannot assert claims against JP Morgan. It merely provides that JP Morgan can only be

liable for losses resulting from its “gross negligence or willful misconduct.”                          Terms and

Conditions, Exs. 4 and 5, at 3, Section 11. If JP Morgan truly believes that its liability is limited

to acts of gross negligence or willful misconduct, then the procedurally proper mechanism is for

JP Morgan to assert an affirmative defense, which it has done, and not retaliatory counterclaims.

See Answer and Counterclaims, Eleventh Defense. Accordingly, Count II must be dismissed.

         C. JP Morgan Fails to State a Breach of Contract Claim in Connection with the
            2015 Hedge Letter (Count I)

                  1.       The 2015 Hedge Letter Cannot be Enforced Against Mrs. Doelger

         As an initial matter, JP Morgan’s attempt to enforce the 2015 Hedge Letter against Mrs.

Doelger is without merit. As JP Morgan is well aware, Mrs. Doelger did not sign the 2015 Hedge

Letter. JP Morgan did not become Mrs. Doelger’s investment adviser until 2019, when JP Morgan

and Mrs. Doelger signed the 2019 Advisory Agreements. JP Morgan never presented Mrs.

Doelger with the 2015 Hedge Letter and she never signed such letter, and JP Morgan does not, and

cannot, allege otherwise. Accordingly, Count II must be dismissed against Mrs. Doelger.

                  2.       The 2015 Hedge Letter is Not a Valid Contract

         The 2015 Hedge Letter is not a valid contract given that JP Morgan failed to provide any

consideration to Mr. Doelger in exchange for Mr. Doelgers’ undertakings in the 2015 Hedge

Letter. 7 “The essential elements for the formation of a contract under Massachusetts law consist




7
 The Doelgers reserve their rights to challenge the 2015 Hedge Letter on additional grounds once there is a fully
developed record in this case, including, without limitation, that the 2015 Hedge Letter is unenforceable because it
violates the Advisers Act, 15 U.S.C. § 80b-15, and because JP Morgan breached its fiduciary duties in bad faith
and/or with reckless indifference to the Doelgers’ interests and/or profited from the Doelgers’ losses.


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of an offer, acceptance, and consideration.” Doe v. Trs. of Bos. Coll., 892 F.3d 67, 89 (1st Cir.

2018). “As to the element of consideration, ‘the contract must be a bargained-for exchange in

which there is a legal detriment of the promisee or a corresponding benefit to the promisor.’” Id.

(citation omitted). Here, there was no legal detriment of JP Morgan, which insists it received a

wholesale waiver of claims, nor was there any benefit to Mr. Doelger. Thus, the 2015 Hedge

Letter is not a valid contract. See id. (“Because there was no consideration, no enforceable contract

was formed.”); see also Nassau Cnty. v. N.Y. State Urban Dev. Corp., 4 N.Y.S.3d 874, 884 (N.Y.

Sup. Ct. 2015). Indeed, on August 10, 2015, JP Morgan agreed to become Mr. Doelger’s

investment adviser when it signed the 2015 Advisory Agreement. See 2015 Advisory Agreement,

Opportunistic Advisory Program at 1-2. At that time, JP Morgan did not condition acceptance of

this agreement on Mr. Doelger agreeing to any additional “waiver”, “assumption of risk” or

“indemnity”. Nonetheless, six weeks later, on September 24, 2015, JP Morgan, on behalf of itself,

and its affiliate, JP Morgan Securities, which was not even a party to the Advisory Agreements,

sent Mr. Doelger the 2015 Hedge Letter. Accordingly, JP Morgan has not alleged consideration

as a matter of law.

       Any argument from JP Morgan that “making the MLPEI offering available to [Mr.

Doelger]” was the consideration for the 2015 Hedge Letter is unavailing. “Past consideration is

not sufficient to support a contract.” Davis v. Davis, 2007 Mass. App. Div. 123, 124 (2007);

accord Fafoutis v. Lyons, 149 A.D.2d 565, 56 (N.Y. App. Div. 2d Dep’t 1989) (“A covenant to do

what one is already under a legal obligation to do is not sufficient consideration for another

contract.”); Bodden v. Kean, No. 23250/2008, 2009 N.Y. Misc. LEXIS 6678, 490 (N.Y. Sup. Ct.

Kings County 2009) (“Generally, past consideration is no consideration and cannot support an

agreement “because the detriment did not induce the promise. That is, since the detriment had




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already been incurred, it cannot be said to have been bargained for in exchange for the promise.”)

(quoting Umscheid v. Simnacher, 106 AD2d 380, 381 (N.Y. App. Div. 2d Dept 1984)). As

discussed, JP Morgan was already under a legal obligation to make the MLPEI offering available

to Mr. Doelger pursuant to the 2015 Advisory Agreement and JP Morgan had already incurred the

“detriment” (i.e., making the MLPEI offering available) and cannot be said to have been bargained

for any across-the-board promise not to sue or “assumption of the risk”.

               3.      The 2015 Hedge Letter Does Not Make JP Morgan Immune from Suit

       Even if the 2015 Hedge Letter were a valid contract, which it is not, JP Morgan has failed

to state a claim for breach of contract for the same reasons it has failed to state a claim for breach

of the Advisory Agreements. That is, JP Morgan fails to allege what specific provisions of the

2015 Hedge Letter the Doelgers supposedly breached by filing the Complaint and, in any event,

there is no provision in the letter preventing the Doelgers from suing JP Morgan. Accordingly,

Count I must be dismissed.

       D. JP Morgan Fails to State a Claim for Indemnity (Count III)

       This Action concerns JP Morgan’s misconduct, yet JP Morgan relies on indemnity clauses

to exculpate itself from liability for its own misconduct. Specifically, JP Morgan bases its claim

for indemnity on two provisions (the “Indemnity Provisions”): one provision is in the Terms and

Conditions (the “T&C Indemnity Provision”) and the other provision is in the 2015 Hedge Letter

(the “Hedge Indemnity Provision”), both of which were drafted solely by JP Morgan and benefited

only JP Morgan. For the reasons discussed below, to the extent any of the provisions are

enforceable, they are inapplicable here and, if anything, only apply to third-party claims brought

against JP Morgan. Accordingly, Count III must be dismissed.




                                                 15
               1.     The T&C Indemnity Provision Does Not Apply to This Action

       As an initial matter, JP Morgan alleges that the T&C Indemnity Provision applies solely

because the Doelgers have supposedly breached the Advisory Agreements. However, as discussed

above, JP Morgan does not, and cannot, allege that the Doelgers breached the Advisory

Agreements. Accordingly, the indemnity claim based on the T&C Indemnity Provision must be

dismissed. In addition, the T&C Indemnity Provision only applies to indemnity claims in

connection with third-party claims brought against JP Morgan and does not apply to intra-party

disputes.

       Under New York law, it is well settled that indemnity provisions only cover claims by third

parties and do not cover claims between contracting parties unless the contract is “unmistakably

clear” that the indemnity clause covers intra-party disputes.       Hooper Assoc. Ltd. v. AGS

Computers, Inc., 74 N.Y.2d 487, 492 (N.Y. 1989); see also Matter of Part 60 Put-Back Litig., 36

N.Y.3d 342, 361 (N.Y. 2020). To evince an “unmistakably clear” intent, the provision must

exclusively or unequivocally refer to claims between the contracting parties:

       The clause in this agreement does not contain language clearly permitting plaintiff
       to recover from defendant the attorney’s fees incurred in a suit against defendant.
       On the contrary, it is typical of those which contemplate reimbursement when the
       indemnitee is required to pay damages on a third-party claim. It obligates defendant
       to “indemnify and hold harmless [plaintiff] from any and all claims, damages,
       liabilities, costs and expenses, including reasonable counsel fees” arising out of
       breach of warranty claims, the performance of any service to be performed, the
       installation, operation and maintenance of the computer system, infringement of
       patents, copyrights or trademarks and the like. All these subjects are susceptible to
       third-party claims for failures in the installation or operation of the system. None
       are exclusively or unequivocally referable to claims between the parties themselves
       or support an inference that defendant promised to indemnify plaintiff for counsel
       fees in an action on the contract.

Id. at 492. See also Great N. Ins. Co. v. Interior Constr. Corp., 7 N.Y.3d 412, 417 (N.Y. 2006)

(“Courts will construe a contract to provide indemnity to a party for its own negligence only where

the contractual language evinces an ‘unmistakable intent’ to indemnify.”) (citation omitted); see


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also Tonking v. Port Auth., 3 N.Y.3d 486, 490 (N.Y. 2004) (“[T]he language of the parties is not

clear enough to enforce an obligation to indemnify, and we are unwilling to rewrite the contract

and supply a specific obligation the parties themselves did not spell out.”); accord Garnet Constr.

Co. v. Acadia Ins. Co., No. 2001-2373-C, 2002 Mass. Super. LEXIS 492, at *6 (Mas. Super. Ct.

Nov. 8, 2002) (“[T]he general rule is that there must be express language creating an obligation to

indemnify one against his own negligence.”) (citation and internal quotation marks omitted); M.J.

Flaherty Co. v. Walsh/O’Connell Joint Venture, 2003 Mass. Super. LEXIS 72, at *7 (Mass. Super.

Ct. Feb. 25, 2003) (finding that indemnity language covered third-party claims and not intra-party

claims).

       Here, the T&C Indemnity Provision does not include “unmistakably clear” language

referring to claims between the Doelgers and JP Morgan. It does not specifically provide that JP

Morgan can recover its attorneys’ fees in a dispute with the Doelgers:

       You will indemnify and hold all Morgan Affiliates providing products or services
       under the Agreement harmless from any claim, loss, liability, or expense, including,
       without limitation, collection costs, reproduction and search costs and the
       reasonable fees and disbursements of counsel and other advisers incurred by them
       (i) in rendering services hereunder; (ii) if you breach the Agreement; (iii) if a third
       party brings a claim, suit or proceeding against a Morgan Affiliate because it
       provided products and services to you, or (iv) resulting from a subpoena,
       administrative order, court order, levy, garnishment, attachment or other legal
       process affecting the Account. You will not be required to indemnify any Morgan
       Affiliate if the claim, loss, or liability results from its gross negligence or willful
       misconduct.

Terms and Conditions, Exs. 4 and 5, at 3, Section 11. Rather, it is a typical indemnity provision

that “contemplate[s] reimbursement . . . on a third-party claim”; it neither “unequivocally refer[s]

to claims between [the parties]” nor supports an inference that it applies to “an action on the

contract” between the Doelgers and JP Morgan. Hooper, 74 N.Y.2d at 492. For this reason alone,

the indemnity claim must be dismissed.




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       In addition, the T&C Indemnity Provision can only be read to apply to third-party claims.

JP Morgan argues that it can seek indemnity from a client if the client breaches the Terms &

Conditions and nothing more (i.e., it isolates out subparagraph (ii)). By JP Morgan’s very own

reading of the provision, it could seek indemnity from a client for activity wholly unrelated to the

services and alleged breach of the Advisory Agreements. Following JP Morgan’s reading to its

logical conclusion, isolating out the remaining subparagraphs would lead to further absurd results.

That is, JP Morgan would be able to seek indemnity from a client for merely “rendering services”

(subparagraph (i)) and nothing more, or if a third party brings a claim against JP Morgan

(subparagraph (iii)) and nothing more.

       JP Morgan’s reading of the provision makes no sense as it would allow JP Morgan to seek

indemnity from a client if JP Morgan is negligent in providing services and the client did nothing

wrong. The only reading of the T&C Indemnity Provision that actually makes sense is that in

order for JP Morgan to seek indemnity from a client, it must allege the indemnity is sought in

connection with (i) “rendering services hereunder”, (ii) a “breach of the Agreement” and (iii) either

a third party (a) brings a lawsuit against JP Morgan or (b) seeks a subpoena or “legal process

affecting the Account.” See Mooney v. Diversified Business Communs., No. 1684-cv-03726-BLS2

2018 Mass. Super. LEXIS 50, *7 (Mass. Super. Ct. March 2, 2018) (“To make sense of the

disputed provisions, the Court must consider the contract as a whole and construe each provision

in context, not in isolation…. the Court must reconcile or harmonize all of the contract's

provisions.”) (internal quotation marks omitted).

               2.      The Hedge Indemnity Provision Does Not Apply to This Action

       As discussed above, JP Morgan cannot enforce the 2015 Hedge Letter against Mrs.

Doelger, a non-party to the alleged agreement. In addition, it cannot enforce the 2015 Hedge Letter

against Mr. Doelger for lack of consideration, and thus, the indemnity claim based on the Hedge


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Indemnity Provision cannot stand. The indemnity claim also fails because it only applies to third-

party claims and does not cover this Action.

       It is not unmistakably clear that the Hedge Indemnity Provision applies to intraparty

disputes. That is, it does not specifically provide that JP Morgan can recover its attorneys’ fees in

a dispute with the Doelgers:

       To the fullest extent permitted by applicable law, you agree to indemnify and hold
       harmless JPMorgan Chase Bank, N.A., J.P. Morgan Securities LLC, and their
       affiliates (collectively, “JPMorgan”) from and against any and all liabilities,
       obligations, losses, damages, fines, penalties, claims, demands, actions, suits or
       proceedings, costs, expenses and disbursements (including legal and accounting
       fees and expenses, costs of investigation and sums paid in settlement) of any kind
       or nature whatsoever which may be imposed on, incurred by or asserted at any time
       against JPMorgan in the event that any of the confirmations, statements or
       agreements made by you as reflected in this letter are incomplete or incorrect in
       any respect. To the fullest extent permitted by applicable law, you agree to pay the
       expenses (including legal fees and expenses and costs of investigation) covered by
       this indemnity and incurred by JPMorgan as such expenses are incurred.

2015 Hedge Letter at 2, Ex 2. The provision is a run of the mill indemnity provision that courts

have routinely held only covers third party claims.

       Moreover, the Hedge Indemnity Provision cannot even be read to cover JP Morgan’s

attorneys’ fees in this Action. By its terms, the provision applies to claims “in the event that any

of the confirmations, statements or agreements made by you as reflected in this letter are

incomplete or incorrect in any respect.” Ex 2 at 2. It bears repeating that this Action arises from

Defendants’ egregious breaches of their fiduciary duties and not from any statements Mr. Doelger

supposedly made. JP Morgan essentially argues that because there were inaccurate statements in

a self-serving letter it drafted, it can now seek attorneys’ fees from Mr. Doelger for any claims

brought against JP Morgan, regardless of whether the claims arise from the inaccurate statements.

JP Morgan’s overly broad reading of the provision is not only illogical, it is absurd.




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               3.       The Indemnity Provisions Are at Best Ambiguous and Must Be
                        Interpreted Against JP Morgan

       Where there is doubt or ambiguity in a contract of adhesion, “a contract must be construed

most strongly against the party who prepared it, and favorably to a party who had no voice in the

selection of its language.” Flagg v. Yonkers S&L Ass’n, 307 F. Supp. 2d 565, 583 (S.D.N.Y. 2004)

(citation omitted); accord Advanced Micro Devices, Inc. v. Feldstein, No. 13-40007-TSH, 2013

U.S. Dist. LEXIS 189838, at *32 (D. Mass. May 15, 2013) (“[I]t is appropriate to define the

contract narrowly against the interest of the drafter.”); Cervantes v. CRST Int’l, Inc., No. 20-10106-

PBS, 2020 U.S. Dist. LEXIS 139189, at *7 (D. Mass. Aug. 5, 2020) (noting “the long-established

rule in contract law that ambiguities in contracts are construed against the drafter”). See Matter of

Power v. Olympic Reg’l Dev. Auth., 195 A.D.3d 1104, 1106 (N.Y. App. Div. 3rd Dep’t 2021)

(“This ambiguity itself precludes a finding of entitlement to contractual indemnification.”).

       The Terms & Conditions and the 2015 Hedge Letter are unquestionably contracts of

adhesion and, at best, the Indemnity Provisions are ambiguous. JP Morgan was capable of drafting

the Indemnity Provisions to clearly cover disputes between the parties. However, JP Morgan failed

to do so. The Court should accept the Doelgers’ reasonable interpretations of the Indemnity

Provisions and reject JP Morgan’s strained reading of the provisions. James B. Nutter & Co. v.

Estate of Murphy, 478 Mass. 664, 669 (2018) (internal quotations omitted) (“The author of the

ambiguous term is held to any reasonable interpretation attributed to that term which is relied on

by the other party.”)

                                          CONCLUSION

       For the foregoing reasons, the Doelgers respectfully request that the Court grant the Special

Motion to Dismiss. Also, the Court must award the Attorneys their attorneys’ fees. The Attorneys

will provide an attorney fee petition under the Court’s direction.



                                                 20
Dated: October 22, 2021                             Respectfully submitted,

                                                    YOON DOELGER and PETER DOELGER

                                                    By their attorneys,

                                                      /s/ Joshua W. Gardner

                                                    Joshua W. Gardner (BBO No. 657347)
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                                                    josh@gardnerrosenberg.com

                             LOCAL RULE 7.1 CERTIFICATION

      I certify that prior to filing this motion a conference was held with counsel for JP Morgan.
JP Morgan refused to assent to the relief sought herein.

Date: October 22, 2021                                                     /s/ Joshua W. Gardner
                                                                           Joshua W. Gardner

                                 CERTIFICATE OF SERVICE

       I certify that that on this date the foregoing “PLAINTIFFS’ MEMORANDUM OF LAW
IN SUPPORT OF THEIR SPECIAL “ANTI-SLAPP” MOTION TO DISMISS OR IN THE
ALTERNATIVE UNDER RULE 12(b)(6)” was filed electronically with the Clerk of the Court by
CM/ECF system. Notice of this filing will be sent by e-mail to all parties by operation of the
Court’s CM/ECF electronic filing system. Parties may access this filing through the Court’s
system.

Date: October 22, 2021                                                     /s/ Joshua W. Gardner
                                                                           Joshua W. Gardner




                                               21
